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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-01942-WYD-MEH

  ROBERT JOHNSON,

         Plaintiff,

  v.

  TYLER SIMONSON, in his individual capacity,
  ST. MARY’S HOSPITAL & MEDICAL CENTER, INC., and
  HSS, INC.,

         Defendants.


                                         MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on March 19, 2018.

         For good cause shown, the Joint Motion to Amend the Scheduling Order [filed March 15,
  2018; ECF No. 61] is granted. Paragraph 9 of the governing Scheduling Order is modified as
  follows:

  b.     Discovery Cutoff:                  August 29, 2018
  c.     Dispositive Motions deadline:      September 28, 2018
  d.3.   Initial Expert Designation:        June 15, 2018
  d.4.   Rebuttal Expert Designation:       July 16, 2018
